                Exhibit A




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                     Exhibit 1




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Milan – Building Main Entrance
                                                             Current Protocol and Measures Taken:
                                                              • Sanitizer stations at turnstile
                                                                 entrance/exit and along pathway to
                                                                 main entrance
                                                              • Personal hand sanitizer bottles will be
                                                                 given out to each employee.
                                                              • Employees can bring 12 oz hand
                                                                 sanitizer bottle into the facility and
                                                                 the plant will re-fill the bottles at no
                                                                 charge.
                                                              • Temperature checks for every person
                                                                 entering building – currently using
                                                                 temporary workers to do this
                                                              • Mask handed out to each person
                                                                 entering the building – currently using
                                                                 temporary workers to do this
                                                              • One tent and three carports setup
                                                                 outside with tables and chairs (spaced
                                                                 with plastic dividers) for breaks
                                                               • Automatic thermal camera (Cohu
                                                                  Costar) –streamline temp check
                                                                  process getting employees through
                                                                  front door




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Milan – Admin and HR Office Area

                                                            Current Protocol and Measures Taken:
                                                            • Sanitizing all high-contact surfaces in
                                                              offices, bathrooms, and common
                                                              areas – this is done by 2 hourly
                                                              employees (constant rounds, usually
                                                              hitting each surface every 2 hours)
                                                            • Sanitizer jugs located in common area
                                                            • No large meetings held in offices
                                                            • Masks worn if <6ft of contact is
                                                              necessary
                                                             Upcoming:
                                                            • Fogging/Misting: Will begin using
                                                              PURE chemical in this area (only
                                                              requires 15 min after misting before
                                                              ppl can return to area)




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Milan – Cafeteria Area
                                             Current Protocol and Measures Taken:
                                             • Sanitizer jugs at all entrance and exits
                                             • Employee making rounds sanitizing contact surfaces
                                             • Tables have been spread apart – plastic dividers
                                               between center of each table and between each seat
                                             • All condiment type items are now single-use to
                                               prevent multiple people from touching the same item
                                             • Fountain drinks not allowed (don’t want hands
                                               touching same buttons)
                                             • Outside seating to allow >6’ even at peak break times
                                               (mentioned earlier)
                                             • Laminated flyers posted on plastic dividers giving
                                               COVID-19 basic health tips and Smithfield current
                                               protocols
                                              Upcoming:
                                             • Fogging/Misting: Will begin using PURE chemical in
                                               this area (only requires 15 min after misting before ppl
                                               can return to area)




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Milan – Knife and Laundry Room


                                          Current Protocol and Measures Taken:
                                          • Sanitizer jugs at all entrance and exits
                                          • Clear shields setup at windows where employees
                                            pickup supplies
                                          • Upcoming:
                                          • TBD




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Milan – Kill Floor General (Non-Production)

                                         Current Protocol and Measures Taken:
                                         • Sanitizer jugs at all entrance and exits to floor along
                                           with jugs at key entry points to lines and workstations
                                         • Employee making rounds with sanitizer jug to spray
                                           employee hands (every 2 hours)
                                         • Employee sanitizing high contact surfaces and locker
                                           room (2 hours)
                                         • One hour late start time this week – subject to change
                                           (helps prevent morning and 1st break congestion)
                                           Upcoming:
                                         • Fogging/Misting: Will begin using PURE chemical in
                                           locker rooms (only requires 15 min after misting
                                           before ppl can return to area)




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Milan – Cut Floor General (Non-Production)
                                         Current Protocol and Measures Taken:
                                         • Sanitizer jugs at all entrance and exits to floor along with jugs
                                           at key entry points to lines and workstations
                                         • Employee making rounds with sanitizer jug to spray
                                           employee hands (every 2 hours)
                                         • Employee sanitizing high contact surfaces such as doors to
                                           cut, shipping, etc and locker room (2 hours)
                                         • Pushing distancing when picking up laundry bags and clocking
                                           in during the morning – the extra time taken is absorbed into
                                           gang time rather than allowing early clock in (usually not
                                           much extra time)
                                           Upcoming:
                                         • Fogging/Misting: Will begin using PURE chemical in locker
                                           rooms (only requires 15 min after misting before ppl can
                                           return to area)




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Milan – Maintenance Shop
                         Current Protocol and Measures Taken:
                         • Sanitizer jugs at all entrance and exits
                         • Employee making rounds sanitizing contact surfaces
                         • Mandatory masks and faceshields
                           Upcoming:
                         • Fogging/Misting: Will begin using PURE chemical in this area (only requires 15
                           min after misting before ppl can return to area)




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                    Milan – General Notes


• Majority of sanitizer being used to clean contact surfaces is just
  standard 70% alcohol based




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                     Exhibit 2




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                                                      Hazard ID and Risk Assessment
Scope/Area:_
General                                        HIRA # 1

Review Date:        4/13/2020


  Hazard(s) –                                                                                                                                                    Monitoring of Controls -




                                                                                                                                        Likelihood
Chemical, Health,                                                                                                                                                All A & B Severity Hazards




                                                                                                                                        12345
                                                                                                                             Severity
                                                                                                                             ABCD
   Electrical,        Hazard                                                                                                                            Risk     shall have regular
  Ergonomic,         Category Contributing factors, processes,         Controls – What is done to prevent exposure to this                           Assessme monitoring for
    Physical         (See 2.5) tasks. (Why does the hazard exist?)     hazard?                                                                       nt Severity effectiveness


                                                                       Hand Sanitizing Stations
                                *Cases of COVID-19 have been
                                                                       Continuing to Stress Importance of Personal
                                reported in Missouri
                                                                       Hygiene
                                *People in places where ongoing
                                                                       Enhanced Cleaning and Disinfection
                                community spread of the virus that
                                causes COVID-19 has been reported
                                                                       Expanded Employee Health Benefits
                                are at elevated risk of exposure, with
                                the level of their risk depending on
                                                                       Implementing Thermal Scanning                                                            Daily Thermal
                                their location.
                        Non                                                                                                                                     Temperature Checks
COVID-19              routine                                         Increased Social Distancing in Common Areas            A                   4 Serious
                                *Close contacts of persons with
                                                                                                                                                                Social Distancing & PPE
                                COVID-19 also are at elevated risk of
                                                                      Installed Plexiglass Barriers                                                             Audits
                                exposure.
                                                                       Instituted Processes and Protocols that Follow
                                *Travelers returning from affected
                                                                       CDC Guidance
                                international locations where
                                community spread is occurring also
                                                                       Restricting All Nonessential VisitorsHow Smithfield
                                are at elevated risk of exposure, with
                                                                       is Protecting You from COVID-19 (Coronavirus)
                                their level of risk depending on
                                where they traveled.
                                                                       Gloves, Masks and Face shields are provided to all
                                                                       employees at entrance




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                     Exhibit 3




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                     Exhibit 4




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                 COVID-19 Protocols for Potential and Positive Exposure
                                Updated: April 6, 2020

In accordance with applicable guidance, Smithfield has instituted the following protocols for
employees who exhibit symptoms of COVID-19, who have been exposed to COVID-19, and
employees who have tested positive for COVID-19. These protocols are effective immediately
and until further notice.

                                   Symptoms of COVID-19
                                    Persistent Dry Cough
                                            Fever*
                                     Difficulty breathing

* a fever is a body temperature of 100.4 degrees Fahrenheit/38 degrees Celsius or higher
More information: https://www.cdc.gov/coronavirus/2019-ncov/about/symptoms.html)

A. Every Smithfield facility will:
   x Designate a room that can be used to isolate an individual with COVID-19 symptoms.
   x Designate a trained individual (the “Designated Individual”) for each shift.
         o If the location has a nurse onsite or in the area, the nurse will be the Designated
           Individual. If there is no nurse, the HR leader or that person’s designee will be
           the Designated Individual.
         o A Designated Individual must be present at all times when the facility is occupied.


B. If an Employee shows symptoms of COVID-19:
    x The Designated Individual will:
             1. Supply the Employee with a mask to cover their nose or mouth (if no mask is
                available, provide tissues or cloth) and place the Employee in the designated
                isolation room alone. (Note: corporate and sales locations will send the
                Employee home instead of to the isolation room.)
             2. Provide the Employee with the COVID-19 Questionnaire to complete.
             3. Call with Employee from outside the isolation room to perform the
                Questionnaire Assessment.
             4. After the Employee has left the isolation room, ensure that the room is
                cleaned and disinfected.

   x   Questionnaire Assessment:
             1. Review the Employee Questionnaire with the Employee.
             2. “Close Contact” is defined by the CDC as:
                    a. Being within approximately 6 feet (2 meters) of a person with COVID-
                       19 for 10 minutes or more. Close contact can occur while caring for,
                       living with, visiting, or sharing a healthcare waiting area with a person
                       with COVID-19; or


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                     b. Direct contact with infectious secretions of a person with COVID-19
                         (for example, being coughed on).
              3. When asking about travel in the last 14 days, refer to the most up to date
                 travel restrictions from the CDC website:
                 https://www.cdc.gov/coronavirus/2019-ncov/travelers/index.html
              4. If ANY answer to a question on the Employee Questionnaire is YES,
                 immediately:
                     a. Send the Employee home with instructions to quarantine for 14 days
                         and not to return to the facility for any reason during quarantine (ask
                         the Employee if he or she is well enough to drive home or if we can
                         help arrange for assistance or transportation).
                     b. Ask the Employee to identify any other employee with whom they may
                         have had “close contact” in the 2 days prior to the start of symptoms.
                         Identify the Employee’s department/area/line and include anyone
                         within 6 feet.
                     c. Encourage the Employee to seek a medical evaluation and to
                         immediately contact us if they test positive for COVID-19. Tell them
                         the CDC recommends they call their physician and let them guide
                         them to the appropriate place for testing and procedure. They should
                         not go to an Urgent Care/Walk-in facility or Emergency Room.

C. If an Employee has been exposed to a person being tested for COVID-19:
    x The Designated Individual will ask the Employee if he or she is experiencing any
       COVID-19 symptoms:
              1. If yes: follow the steps in Section B of this protocol.
              2. If no, but the person being tested lives in the Employee’s household, is an
                  intimate partner of Employee, or is a person to whom Employee has provided
                  care in the last 14 days: send the Employee home until the tests results are
                  back.
    x If the test results are:
              1. Negative: the Employee may return to work.
              2. Positive: refer to Section D.
                          Note that a diagnosis of a coronavirus strain OTHER than COVID-19 is
                          not a positive COVID-19 test and does not require quarantine. Any
                          other strain is considered the common flu.
                          https://www.cdc.gov/coronavirus/general-information.html

D. If an Employee had close contact with a person who tested positive for COVID-19:
    x The Designated Individual will ask the Employee if he or she is experiencing any
       COVID-19 symptoms:
             1. If yes: follow the steps in Section B of this protocol.
             2. If no, but the person being tested lives in the Employee’s household, is an
                intimate partner of Employee, or is a person to whom Employee has provided
                care in the last 14 days:
                    a. send the Employee home with instructions to quarantine for 14 days
                        and not to return to the facility for any reason during quarantine.

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                         b. If the employee remains asymptomatic, no further action is required,
                            and the Employee can return to work at the end of the 14-day period.
                            If the Employee develops symptoms, refer to Section B.

E. If an Employee tests positive for COVID-19:
    x If the Employee is at home: Place the Employee on 14-day quarantine and tell the
        Employee not to return to the facility for any reason during quarantine. Gather the
        information for the Employee Questionnaire via phone.

    x      If the Employee is at work: Isolate the Employee and immediately arrange for him or her
           to go home. Provide the Employee with the Employee Questionnaire and gather the
           information needed via phone after the Employee has left the facility. Ensure that the
           isolation room is cleaned and disinfected.

    x      In both instances: Ask the Employee to identify any other employee with whom they
           may have had “close contact” in the 2 days prior to the start of symptoms. Identify the
           Employee’s department/area/line and include anyone within 6 feet.

    x      If the Employee has been out of the facility for more than 7 days:
                   1. Speak to each person on the “close contact” list and go through the Employee
                      Questionnaire.
                   2. If any person on the “close contact” list is experiencing any COVID-19
                      symptoms, follow the steps in Section B of this protocol.
                   3. Persons on the “close contact” who are not experiencing symptoms can
                      continue to work but must self-monitor for COVID-19 symptoms. If they
                      experience symptoms they should not report to work and must contact HR
                      immediately.

    x      If the Employee has been in the facility in the last 7 days:
                   1. All employees on the “close contact” list should be sent home with
                      instructions to quarantine for 14 days and not to return to the facility for any
                      reason during the quarantine.
                   2. If the employee on the “close contact” list remains asymptomatic, no further
                      action is required and he or she can return to work at the end of the 14-day
                      period.
                   3. If the employee on the “close contact” list develops symptoms, refer to
                      Section B and stay quarantined until all requirements for returning after
                      quarantine are satisfied.

F. Returning to work after quarantine:
   x If the Employee has symptoms of COVID-19, the Employee can return to work if ALL of
      the following are satisfied:
              1. 14-day quarantine is over;
              2. No continuing symptoms of COVID-19;
              3. No fever for at least 72 hours from the last use of fever-reducing medication;
                 AND
              4. At least 7 days have passed since symptoms first appeared.
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    x      If the Employee was quarantined for symptoms of COVID-19, but was diagnosed with
           another condition and has a release to return to work OR they were tested for COVID-
           19 and the results were negative, the Employee can return to work in FEWER than 14
           days if all of the following are satisfied:

                 1. No continuing symptoms of COVID-19;
                 2. No fever for at least 72 hours from the last use of fever-reducing medication;
                    AND
                 3. At least 7 days have passed since symptoms first appeared.

    x      If the Employee is diagnosed with COVID-19, the Employee can return to work if ALL of
           the following are satisfied:
                   1. 14-day quarantine is over;
                   2. No continuing symptoms of COVID-19;
                   3. No fever for at least 72 hours from the last use of fever-reducing medication;
                   4. At least 7 days have passed since symptoms first appeared; AND
                   5. A medical professional has provided a return to work note.

Definitions Used in this Guidance

Self-monitoring means people should monitor themselves for fever by taking their
temperatures twice a day and remain alert for dry cough or difficulty breathing. If they feel
feverish or develop measured fever, dry cough or difficulty breathing during the self-monitoring
period, they should self-isolate, limit contact with others, and seek advice by telephone from a
healthcare provider or their local health department to determine whether medical evaluation is
needed.

Isolation means the separation of a person or group of people known or reasonably believed
to be infected with a communicable disease and potentially infectious from those who are not
infected to prevent spread of the communicable disease. Isolation for public health purposes
may be voluntary or compelled by federal, state or local public health order.

Close contact is defined as:

a) being within approximately 6 feet (2 meters) of a COVID-19 case for a prolonged period of
time; close contact can occur while caring for, living with, visiting or sharing a healthcare
waiting area or room with a COVID-19 case
– or –
b) having direct contact with infectious secretions of a COVID-19 case (e.g., being coughed
on)

Prolonged Period in general means a lengthy or extended period of time. In a work situation
is means that you may have worked next to them, took your breaks with them, ate lunch with
them, shared a ride to work or home with them, had a face-to-face conversation with them for
10 minutes or more, or have had physical contact with them.


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Quarantine in general means the separation of a person or group of people reasonably
believed to have been exposed to a communicable disease, from others who have not been so
exposed, to prevent the possible spread of the communicable disease.




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                               COVID-19 Employee Questionnaire
                                    Updated: April 6, 2020

In response to government precautions concerning COVID-19, we have instituted additional
screening to assess the risk of potential COVID-19 spread in our workplace. Please take a
moment to complete the following questionnaire.

x   Have you or someone living in your household recently returned from international travel
    within the past 14 days?     Yes ____ No ____

    If yes, which region(s)? ___________________________________________________

    When did you return to the United States? ____________________________________

Note: Reference the CDC website for an up to date list of these regions.

x   Are you currently experiencing any of the following symptoms?

       Persistent dry cough?                                   Yes ____ No ____

       Fever over 100 degrees Fahrenheit?                      Yes ____ No ____

       Difficulty breathing or shortness of breath?            Yes ____ No ____

x   Do you live with someone in the same household, have a spouse/intimate partner or have
    you been providing care to someone currently being tested for COVID-19 or that has been
    diagnosed with COVID-19?                                Yes ____ No ____

x   Have you been in “close contact”, within 6 feet for a prolonged period* of time, of a person
    who has been formally diagnosed with COVID-19 in the last 14 days? Yes ___ No ___

If you answered “Yes” to any of the above questions, please provide a list of all employees
with whom you have been in close contact for a prolonged period in the 2 days prior to the
start of symptoms. Close contact means being within approximately six feet of a coworker for
a prolonged period of time. Prolonged period means greater than 10 minutes of face-to-face
contact.

________________________________________________________________________

_________________________________________________________________________

_________________________________________________________________________

_________________________________________________________________________


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_________________________________________________________________________

_________________________________________________________________________

_________________________________________________________________________


By signing below, you acknowledge that you have answered all questions completely and
honestly to the best of your knowledge.

___________________________________          _____________________________________
Employee ID#                                 Employee Phone Number

___________________________________          _____________________________________
Emergency Contact                            Emergency Contact Phone Number

___________________________________          _____________________________________
Employee Name Printed                        Employee Signature

___________________________________
Date




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                     Exhibit 8




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                              COVID-19 Visitor Restriction Policy
                                   Updated: March 5, 2020

In response to government precautions concerning COVID-19, we have instituted the following
Visitor Restriction Policy, effective immediately and until further notice:

COVID-19 Visitor Restriction Policy

Visitors will be restricted from entering our facilities and farms if they have returned from “Level
3, Avoid Nonessential Travel” or “Level 2, Practice Enhanced Precautions” regions as
determined by the United States Centers for Disease Control and Prevention (CDC) within the
past 14 days.

Currently, these regions include the following:

   x   China (Level 3 Travel Health Notice)
   x   Iran (Level 3 Travel Health Notice)
   x   South Korea (Level 3 Travel Health Notice)
   x   Italy (Level 3 Travel Health Notice)
   x   Japan (Level 2 Travel Health Notice)

(Reference: https://www.cdc.gov/coronavirus/2019-ncov/travelers/index.html)

In accordance with this Policy, please complete the below questionnaire.

   x   Have you returned from “Level 3, Avoid Nonessential Travel” or “Level 2, Practice
       Enhanced Precautions” regions as determined by the CDC within the past 14 days?
       Yes ___ No ___

   x   Have you been designated by public health authorities as someone at risk of COVID-19
       (coronavirus) due to potential exposure? Yes ____ No ____

   x   Are you experiencing flu like symptoms such as cough, fever, difficulty breathing or
       shortness of breath? Yes ____ No ____

By signing below, you acknowledge that you have completely read and fully understand the
Smithfield Foods COVID-19 Visitor Restriction Policy and have answered “No” to all of the
above questions.

___________________________________               _____________________________________
Visitor Signature                                 Visitor Printed Name

___________________________________
Date

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